                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                               )
                                                       )       Case No. 1:17-cr-69-HSM-SKL
                                                       )
 v.                                                    )
                                                       )
                                                       )
 SHANNON HORTON                                        )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the ten-

 count Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count

 One of the Indictment, that is of conspiracy to distribute and possess with intent to distribute five

 grams or more of methamphetamine (actual) or 50 grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser offense of the charge in Count One of

 the Indictment, that is of conspiracy to distribute and possess with intent to distribute five grams

 or more of methamphetamine (actual) or 50 grams or more of a mixture and substance containing

 a detectable amount of methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);(4)

 defer a decision on whether to accept the plea agreement until sentencing; and (5) find Defendant

 shall remain in custody until sentencing in this matter [Doc. 161]. Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with

 the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation [Doc. 161] pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:




Case 1:17-cr-00069-TRM-SKL           Document 179          Filed 11/13/17     Page 1 of 2      PageID
                                           #: 800
       (1)   Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Indictment, that is of conspiracy to distribute and possess with intent to distribute

             five grams or more of methamphetamine (actual) or 50 grams or more of a mixture

             and substance containing a detectable amount of methamphetamine, in violation of

             21 U.S.C. §§ 846 and 841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in

             Count One of the Indictment, that is of conspiracy to distribute and possess with

             intent to distribute five grams or more of methamphetamine (actual) or 50 grams or

             more of a mixture and substance containing a detectable amount of

             methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until

             sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on February 12, 2018 at 9:00 a.m. [EASTERN] before

             the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                         /s/ Harry S. Mattice, Jr._______
                                                       HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




Case 1:17-cr-00069-TRM-SKL        Document 179        Filed 11/13/17      Page 2 of 2      PageID
                                        #: 801
